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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, CITY OF NEW YORK,
STATE OF CONNECTICUT, and STATE OF
VERMONT,
                       Plaintiffs,
            v.
UNITED STATES DEPARTMENT OF HOMELAND
SECURITY; CHAD F. WOLF, in his official capacity as
Acting Secretary of the United States Department of
Homeland Security; UNITED STATES CITIZENSHIP               CIVIL ACTION NO.
AND IMMIGRATION SERVICES; KENNETH T.                       19 Civ. 07777 (GBD)
CUCCINELLI II, in his official capacity as Senior
Official Performing the Duties of Director of the United
States Citizenship and Immigration Services and of the
Deputy Secretary of United States Department of
Homeland Security; and UNITED STATES OF
AMERICA,
                       Defendants.

MAKE THE ROAD NEW YORK, AFRICAN
SERVICES COMMITTEE, ASIAN AMERICAN
FEDERATION, CATHOLIC CHARITIES
COMMUNITY SERVICES, and CATHOLIC LEGAL
IMMIGRATION NETWORK, INC.,
                      Plaintiffs,
           v.
KEN CUCCINELLI, in his purported official capacity as
Senior Official Performing the Duties of the Director,     CIVIL ACTION NO.
United States Citizenship and Immigration Services;        19 Civ. 07993 (GBD)
UNITED STATES CITIZENSHIP & IMMIGRATION
SERVICES; CHAD F. WOLF, in his purported official
capacity as Acting Secretary of Homeland Security; and
UNITED STATES DEPARTMENT OF HOMELAND
SECURITY,
                     Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                     SUMMARY JUDGMENT
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                                PRELIMINARY STATEMENT

       Plaintiffs challenge a U.S. Department of Homeland Security (“DHS”) regulation that

dramatically altered the criteria for admissibility into the United States under the Immigration

and Nationality Act (“INA”). The Public Charge Rule upends the process for determining who

constitutes a “public charge” excludable from entry and permanent residency in this country. On

August 14, 2019, DHS published the Rule in the Federal Register under the signature of then-

Acting Secretary Kevin McAleenan (“McAleenan”), acting pursuant to the Secretary’s authority

under the INA. Inadmissibility on Public Charge Grounds, 84 Fed. Reg. 41,292, 41,295, 41,508

(Aug. 14, 2019).

       DHS’s changes to the public charge analysis irrationally penalize working-class

immigrants by expanding the meaning of the term public charge to include any individual who is

likely at any point in his or her lifetime to use even a modest amount of supplemental benefits.

Not only do these changes disproportionately exclude immigrants from predominately non-white

countries and immigrants with disabilities, they triggered a mass chilling in benefits enrollment

across the country. This Court has twice held, and the Second Circuit has agreed, that Plaintiffs

are likely to succeed on their claims that the Rule is both contrary to law and arbitrary and

capricious under the Administrative Procedure Act (“APA”). This Court has further held that the

Rule likely violates the equal protection guarantee of the Fifth Amendment.

       The Court should likewise invalidate DHS’s attempt to effectuate a radical shift in

national immigration policy through the actions of an unlawfully-appointed Acting Secretary.

Plaintiffs move for partial summary judgment on the basis that McAleenan promulgated the Rule

while serving in violation of the Federal Vacancies Reform Act (“FVRA”) and the Homeland

Security Act (“HSA”). As the Government Accountability Office (“GAO”) recently found,

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McAleenan was ineligible to serve in the Acting Secretary role under either the FVRA or the

HSA. Following the GAO report, multiple district courts have enjoined DHS rulemakings issued

after the resignation in April 2019 of the last Senate-confirmed Secretary of Homeland Security,

Kirstjen Nielsen (“Nielson”). Casa de Maryland, Inc. v. Wolf, No. 8:20-cv-02118 (PX), 2020

WL 5500165, at *23 (D. Md. Sept. 11, 2020) (enjoining rule that overhauls the criteria for

issuing work authorization to asylum applicants); Immigrant Legal Res. Ctr. v. Wolf, No. 20-cv-

05883 (JSW), 2020 WL 5798269, at *22 (N.D. Cal. Sept. 29, 2020) (enjoining rule that increases

immigration-related fees that United States Customs and Immigration Services collects); Nw.

Immigrant Rights Project v. USCIS (“Northwest”), No. 19-cv-3283 (RDM), 2020 WL 5995206,

at *17-24 (D.D.C. Oct. 8, 2020) (same).

       In light of this overwhelming authority finding that McAleenan assumed his role

improperly, DHS has unsuccessfully attempted to remedy the defects of the rulemaking process.

In September 2020, DHS purportedly re-appointed Chad Wolf (“Wolf”) as Acting Secretary—

through the supposed authority of the most senior Senate-confirmed officer in the agency, Peter

Gaynor (“Gaynor”)—and Wolf attempted to ratify McAleenan’s actions.

       Yet the FVRA prohibits the ex post facto ratification of any functions of the Secretary

that an improperly-serving acting official performs. See 5 U.S.C. § 3348(d)(1). To ensure that the

President obtains the advice and consent of the Senate in appointing senior Executive officials,

and to preserve the oversight that Senate confirmation entails, the statute sets strict limits on who

may discharge the duties of a vacant office and for how long. Because McAleenan’s appointment

contravened this framework, the Court should find that the duties he performed as Acting

Secretary have no force or effect and may not be ratified. In addition to granting relief under the




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FVRA, the Court should also, under the APA, vacate McAleenan’s actions and Wolf’s attempted

ratification as ultra vires.

                                         BACKGROUND

    A. The FVRA and the HSA establish a framework for the order of succession for
       Senate-confirmed roles at the Department of Homeland Security.

        “Article II of the Constitution requires that the President obtain ‘the Advice and Consent

of the Senate’ before appointing ‘Officers of the United States.’” NLRB v. SW Gen., Inc., 137 S.

Ct. 929, 934 (2017) (quoting U.S. Const. art. II, § 2, cl. 2). “The Senate’s advice and consent

power is a crucial structural safeguard [] of the constitutional scheme,” id. at 935, given that

“[t]he manipulation of official appointments had long been one of the American revolutionary

generation’s greatest grievances against executive power.” Freytag v. Comm’r of Internal

Revenue, 501 U.S. 868, 883 (1991) (quotation marks omitted). “Since President Washington’s

first term, Congress has given the President limited authority to appoint acting officials to

temporarily perform the functions of a vacant . . . office without first obtaining Senate approval.”

SW Gen., 137 S. Ct. at 935. The FVRA establishes a default framework for authorizing acting

officials to fill Senate-confirmed roles, with three options for who may serve as an acting

official:

            1. Without affirmative action from the President, “the first assistant to the office of
               such officer [who has died, resigned, or is otherwise unable to perform the
               functions and duties of the office] shall perform the functions and duties of the
               office temporarily in an acting capacity”;

            2. “[T]he President (and only the President) may direct a person who serves in an
               office for which appointment is required to be made by the President, by and with
               the advice and consent of the Senate, to perform the functions and duties of the
               vacant office”; and

            3. “[T]he President (and only the President) may direct an officer or employee of”
               the agency experiencing the vacancy “to perform the functions and duties of the
               vacant office,” but only if that individual served in a senior position in that agency


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                 for at least 90 days “during the 365-day period preceding” the occurrence of the
                 vacancy.

5 U.S.C. §§ 3345(a)(1), (2), (3); see also L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 24 (D.D.C.

2020). The FVRA further provides that a position may be occupied by an acting official only for

a maximum of 210 days. See 5 U.S.C. § 3346. Section 3347 of the FVRA explains that this

framework is the “exclusive means” for authorizing acting officials unless a specific statute

designates one or authorizes “the President, a court, or the head of an Executive department” to

designate one. 5 U.S.C. § 3347.

        DHS has such a statute: the HSA establishes an order of succession for the Acting

Secretary, and provides an alternative to the FVRA’s default options for who may serve as

Acting Secretary of Homeland Security. 6 U.S.C. § 113(g). First in line under the HSA is the

Deputy Secretary, and then the Under Secretary for Management. 6 U.S.C. §§ 113(a)(1)(A),

113(g)(1). After these two offices, the order of succession may be set by the Secretary of

Homeland Security. Id. at § 113(g)(2). 1

        In recognition of the constitutional importance of the Senate’s advice-and-consent role in

appointing “Officers of the United States,” the FVRA makes clear that only actions taken by

lawfully-serving officials have the effect of law. Section 3348(d) of the FVRA (the

“Enforcement Provision”) provides that any functions or duties of a vacant office performed by

unlawfully serving acting officials “shall have no force or effect” and “may not be ratified” after

the fact. 5 U.S.C. §§ 3348 (d)(1), (2). The Enforcement Provision applies regardless of whether

an appointment was made pursuant to the FVRA or an agency-specific statute. Id. at §

3348(d)(1) (the provision applies to applies to “any person who is not acting under section 3345,



1
 For reference, a diagram of the relationship among the FVRA, the HSA, and the Secretary’s regulatory authority to
set the order of succession is attached as Exhibit 19 to the Decl. of Ming-Qi Chu (hereinafter “Ex.__”).

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3346, or 3347). Put another way, the HSA may displace the FVRA’s order of succession for

Acting Secretary, but it does not supersede the Enforcement Provision; the FVRA determines the

consequences of an official’s serving as Acting Secretary in violation of the HSA.

    B. The succession order in Executive Order 13753 governs for vacancies due to the
       Secretary of Homeland Security’s resignation, death, or inability to perform the
       functions of the office.

         Secretary Nielsen was the most recent Senate-confirmed Secretary of Homeland Security.

Throughout her tenure, she adopted and revised four separate times the existing order of

succession for Acting Secretary and other sub-secretary positions—Delegation 00106 2—that had

been issued by then-Secretary Jeh Johnson in 2016. 3

         In her revision dated February 15, 2019, Nielsen preserved two paths for the accession of

an Acting Secretary that had been in place since 2016: (1) the Secretary’s death, resignation, or

inability to perform the functions of the office (Section II.A); and (2) the Secretary’s

unavailability to act during a disaster or catastrophic emergency (Section II.B). Ex. 2 (Dep’t of

Homeland Security, DHS Orders of Succession and Delegations of Authorities for Named

Positions, Delegation No. 00106, Revision No. 08.4 (Feb. 15, 2019) (“February Delegation”) at

1; Ex. 3 (U.S. Gov’t Accountability Off., B-331650, Department of Homeland Security—

Legality of Service of Acting Secretary of Homeland Security and Service of Senior Official



2
 The term “Delegation” refers to the Secretary’s delegation of her authority to perform her functions and duties
should the Secretary leave her position or otherwise be unavailable to act for the reasons outlined in the Delegation.
3
 In May 2018, she revised Annex G to Delegation 00106 (Revision 08.2 to Delegation 00106), which sets the
succession order for the Counting Weapons of Mass Destruction Office. See Ex. 1 (Dep’t of Homeland Security,
DHS Orders of Succession and Delegations of Authorities for Named Positions, Delegation No. 00106, Revision
No. 08.5 (Apr. 10, 2019)) (“April Delegation”) at 4 (noting Revision 08.3’s issue date at May 21, 2018). In October
2018, Nielsen revised Annex Z to Delegation 00106, which sets the succession order for the Transportation Security
Administration (Revision 08.3 to Delegation 00106). Id. (noting Revision 08.3’s issue date as Oct. 23, 2018). In
February 2019, she revised Annex U to Delegation 00106, which sets the succession order for the Office of Strategy,
Policy, and Plans (Revision 08.4 to Delegation 00106). Id. (noting Revision 08.4’s issue date as Feb. 15, 2019).
And, lastly, in April 2019, Nielsen amended Annex A to Delegation 00106. Id. (noting Revision 08.5’s issue date as
Apr. 10, 2019)

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Performing the Duties of Deputy Secretary of Homeland Security (Aug. 14, 2020)) (the “GAO

Report”) at 5; Pls.’ 56.1 Stmt. ¶¶ 6-7. Each ground sets forth the order of succession that would

govern under those circumstances. In the case of the Secretary’s death, resignation, or inability to

perform the functions of office, Section II.A specified that the order of succession in Executive

Order 13753—issued by President Obama in 2016—would govern. Ex. 2 (February Delegation)

at 1; Ex. 4 (Amending the Order of Succession in the Department of Homeland Security, Exec.

Order No. 13753, 81 Fed. Reg. 90,667 (Dec. 9, 2016)) (“Executive Order 13753”). If the

Secretary were unavailable to act during a disaster or catastrophic emergency, Section II.B

specified that the order of succession would be governed by Annex A to the February

Delegation. Ex. 2 (February Delegation) at 1; Pls.’ 56.1 Stmt. ¶¶ 6-7.

        At the time of the February Delegation, the orders of succession found in Executive

Order 13753 and Annex A were identical; the first four positions in the order of succession for

both were as follows: (1) Deputy Secretary, (2) Under Secretary for Management, (3)

Administrator of the Federal Emergency Management Agency (“FEMA”), and (4) Director of

Cybersecurity and Infrastructure Security Agency (“CISA”) 4. Pls.’ 56.1 Stmt. ¶ 8; Ex. 2

(February Delegation) at 1, 5. The February Delegation further provided that officials who were

only acting in the listed positions (rather than confirmed to those positions) were ineligible to

serve as Acting Secretary of Homeland Security, such that the position of Acting Secretary

would pass to the next Senate-confirmed official. Pls.’ 56.1 Stmt. ¶ 10; Ex. 2 (February

Delegation) at 2.




4
 When Executive Order 13753 was issued in 2016, the Director of CISA was called the Under Secretary for
National Protection and Programs; the position was renamed in 2018. Pub. L. No. 115-278, § 2(a), 132 Stat. 4168,
4169 (Nov. 16, 2018), codified at 6 U.S.C. § 652(a), (b). Pls.’ 56.1 Stmt. ¶ 9.



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        Nielsen originally announced her resignation from the Secretary position effective April

7, 2019, but remained in office until April 10, 2019. Pls.’ 56.1 Stmt. ¶¶ 11, 13. Under the order

of succession, in view of the vacancy in the Deputy Secretary position, the Acting Secretary

position would have been assumed by Claire Grady, the Under Secretary for Management. See 6

U.S.C. §§ 113(a)(1)(A), 113(g)(1). Grady, however, resigned on April 9, 2019. Pls.’ 56.1 Stmt. ¶

12.

        Immediately before leaving office on April 10, 2019, Nielsen made a partial amendment

to DHS’s order of succession. See Ex. 1 (April Delegation). The April Delegation confirms that

Executive Order 13753 continued to govern the order of succession in the event of a vacancy

created by the Secretary’s death, resignation or inability to perform the functions of the office.

Pls.’ 56.1 Stmt. ¶ 14; Ex. 1 (April Delegation) at 1. But the Delegation did amend Annex A,

which set forth the order of succession for when the Secretary is unavailable to act during a

disaster or catastrophic emergency; the new order of succession was as follows: (1) Deputy

Secretary; (2) Under Secretary for Management; (3) Commissioner of Customs and Border

Protection (“CBP”), and (4) Administrator of FEMA. Ex. 1 (April Delegation) at 4, 5. The April

9, 2019 memorandum explaining the changes to the succession order (the “April Memorandum”)

confirmed that Nielsen’s changes to the order of succession were limited to Annex A. The April

Memorandum stated, “By the authority vested in me as Secretary of Homeland Security,

including the Homeland Security Act of 2002, 6 U.S.C. § 113(g)(2), I hereby designate the order

of succession for the Secretary of Homeland Security as follows: Annex A of DHS Orders of

Succession and Delegations of Authorities for Named Positions, Delegation No. 00106, is hereby

amended by striking the text of such Annex in its entirety and inserting the following in lieu

thereof.” Ex. 16 (Memorandum for the Secretary from John M. Mitnick, General Counsel, U.S.



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Dep’t of Homeland Security (Apr. 9, 2019)) (“April Memorandum”) at 2. The amendment to the

succession order in Annex A followed. Id.

   C. McAleenan’s performance of the Secretary’s functions has no force or effect
      because he assumed the position in violation of Executive Order 13753.

       Because there was no Deputy Secretary or Under Secretary for Management at the time

of Nielsen’s April 10, 2019 departure, CBP Commissioner Kevin McAleenan assumed the role

of Acting Secretary, supposedly pursuant to Annex A. Pls.’ 56.1 Stmt. ¶ 17. Yet Executive Order

13753 rather than Annex A governed the relevant order of succession because the vacancy in the

position of Secretary was created by Nielsen’s resignation, not through the Secretary’s

unavailability during a disaster or catastrophic emergency. Under that Executive Order, because

the first three positions in the succession order were vacant, Christopher Krebs (“Krebs”),

Director of CISA, not McAleenan, should have assumed the position. See Pls.’ 56.1 Stmt. ¶ 27;

Ex. 3 (GAO Report) at 8 n.11.

       On August 14, 2019, DHS published the Rule in the Federal Register. 84 Fed. Reg.

41,292. The Rule was issued pursued to McAleenan’s purported authority as Acting Secretary,

see 84 Fed. Reg. at 41,295-96, and under his signature, id. 41,508. The Rule invokes the

Secretary’s statutorily established authority under 8 U.S.C. § 1103, which “charge[s] the

Secretary with the administration and enforcement of the immigration and naturalization laws of

the United States.” Id. at 41,295.

       In addition to attempting to promulgate the Rule, McAleenan also attempted to make

additional changes to DHS’s order of succession. On November 8, 2019, McAleenan, apparently

recognizing that the order of succession set forth in Annex A did not apply to the circumstances

in which he purportedly assumed the Acting Secretary role, substituted Annex A for Executive

Order 13753 to govern the order of succession when the Secretary dies, resigns, or is unable to

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perform the functions of office. Pls.’ 56.1 Stmt. ¶ 18; Ex. 9 (Dep’t of Homeland Security, DHS

Orders of Succession and Delegations of Authorities for Named Positions, Delegation No.

00106, Revision No. 08.6 (Nov. 14, 2019)) (the “November Delegation”) at 1. McAleenan then

directed the order of succession in Annex A to be: (1) Deputy Secretary, (2) Under Secretary for

Management, (3) Commissioner of CBP, and (4) Under Secretary for Strategy, Policy, and Plans.

Pls.’ 56.1 Stmt. ¶ 19; Ex. 8 (Amendment to the Order of Succession for the Secretary of

Homeland Security (Nov. 8, 2019)). Unlike the April Delegation, therefore, the November

Delegation provided that Annex A would govern in all circumstances. 5

           Five days later, on November 13, 2019, McAleenan resigned as both Acting Secretary

and Commissioner of CBP. Pls.’ 56.1 Stmt. ¶ 20. Because the first three positions in the line of

succession in Annex A were vacant, the Senate-confirmed Under Secretary for Strategy, Policy,

and Plans—Wolf—purported to assume the role of Acting Secretary. Pls.’ 56.1 Stmt. ¶ 20.

Because McAleenan was not serving lawfully as Acting Secretary, however, under the FVRA’s

Enforcement Provision, the duties of the vacant office that he performed, including the issuance

of the Rule and the November Delegation purporting change to the order of succession, had no

force or effect.

       D. Congress and courts have questioned the legality of McAleenan’s appointment.

           On November 15, 2019, the Chairman of the House of Representatives Committee on

Homeland Security and the Acting Chairwoman of the House Committee on Oversight and

Reform wrote a letter to GAO to express concerns that former Acting Secretary McAleenan did

not lawfully assume the Acting Secretary position, and so McAleenan had no authority to make

the changes to DHS’s orders of succession that purported to install Wolf as the new Acting



5
    For reference, a chart comparing the February, April, and November Delegations is attached as Ex. 20.

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Secretary and Ken Cuccinelli as the Senior Official Performing the Duties of Deputy Secretary.

Pls.’ 56.1 Stmt. ¶¶ 21-22.

       On August 14, 2020, GAO issued a report responding to the Chairman and Acting

Chairwoman’s request. Based on the amendments Secretary Nielsen made to the order of

succession in April 2019, GAO concluded that the Senate-confirmed CBP Commissioner,

McAleenan, “would have been the appropriate official” to serve as Acting Secretary only if

Secretary Nielsen had been “unavailable to act during a disaster or catastrophic emergency.” Ex.

3 (GAO Report) at 7 (citing Annex A to the April Delegation); Pls.’ 56.1 Stmt. ¶ 25.

       GAO concluded that because Secretary Nielsen had instead resigned, Executive Order

13753 controlled under “the plain language of the April Delegation.” Ex. 3 (GAO Report) at 7;

Pls.’ 56.1 Stmt. ¶ 26. GAO explained that after Nielsen’s resignation, then-Director of CISA,

Krebs, should have assumed the position of Acting Secretary because he was the first Senate-

confirmed official in the Executive Order 13753 order of succession that governed following a

Secretary’s resignation. Ex. 3 (GAO Report) at 8 n.11; Pls.’ 56.1 Stmt. ¶ 27. GAO noted that

although “McAleenan assumed the title of Acting Secretary upon the resignation of Secretary

Nielsen,” “the express terms of the existing [succession] designation required [Krebs] to assume

that title” and so “McAleenan did not have authority to amend the Secretary’s existing

designation.” Ex. 3 (GAO Report) at 11; Pls.’ 56.1 Stmt. ¶ 28. GAO thus concluded that Wolf

and Cuccinelli were improperly serving in their acting roles because they assumed those acting

roles as a result of “[the] invalid order of succession” established by McAleenan in the

November Delegation. Ex. 3 (GAO Report) at 11; Pls.’ 56.1 Stmt. ¶ 29.




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        Multiple lawsuits have challenged the legality of McAleenan’s and, in turn, Wolf’s

ascension to the position of Acting Secretary. 6 At least two district courts have enjoined DHS

rulemakings based on findings that plaintiffs were likely to succeed on their claims that both

McAleenan and Wolf were serving unlawfully in violation of the succession order set forth in

Executive Order 13753, and thus, in the HSA. See Casa de Maryland, 2020 WL 5500165, at

*23; Immigrant Legal Res. Ctr., 2020 WL 5798269, at *8 (“The Court finds the reasoning set

forth in La Clinica de la Raza and Casa de Maryland on the succession issue highly persuasive,

and like the Casa de Maryland court concludes that Plaintiffs are likely to show that the

appointments were not lawful and, thus, that the Final Rule is likely invalid under the APA.”). 7

And at least one other decision has invalidated DHS action based on a finding that an Acting

Secretary lacks authority to amend the order of succession for the Secretary position. See

Northwest, 2020 WL 5995206, at *17-24 (enjoining rule promulgated by Wolf on grounds that

McAleenan, as Acting Secretary, could not validly change the order of succession to install Wolf

as Acting Secretary).




6
 See, e.g., Amended Complaint, La Clinica De La Raza et al v. Trump et al, No. 4:19-cv-04717 (May 20, 2020),
ECF No. 161 (challenging Public Charge Rule); Complaint, Don’t Shoot Portland v. Wolf, No. 1:20-cv-2040
(D.D.C. July 27, 2020), ECF No. 1 (challenging conduct of DHS officers in protests in Portland, Oregon);
Complaint, Casa de Maryland, Inc. v. Wolf, No. 8:20-cv-2118 (D. Md. July 21, 2020), ECF No. 1 (challenging rule
changing work authorization requirements for asylum applicants); Complaint, Immigrant Resource Law Center v.
Wolf, No. 4:20-cv-05883 (N.D. Cal. Aug. 20, 2020), ECF No. 1 (rule challenging increase in USCIS fees);
Complaint, Cent. Am. Res. Ctr. v. Cuccinelli, No. 20-cv-2363 (D.D.C. Aug. 26, 2020), ECF No. 1 (alleging that
Cuccinelli’s designation as Principal Deputy Director of U.S. Citizenship and Immigration Services violates FVRA,
HRA, and DHS’s succession orders); Second Amended Complaint, State of New York et al v. Donald Trump et al.,
No. 1:17-cv-05228 (E.D.N.Y. Aug. 28, 2020), ECF No. 271 (challenging agency’s changes to Deferred Actions for
Childhood arrivals program).
7
  The La Clinica court found that McAleenan’s appointment violated the order of succession in Executive Order
13753 but granted DHS’s motion to dismiss on the assumption that the President had exercised his general authority
under the FVRA to revise the succession order. La Clinica De La Raza v. Trump, No. 19-cv-04980 (PJH), 2020 WL
4569462, at *46 (N.D. Cal. Aug. 7, 2020). DHS has since admitted, however, that the President has never exercised
this authority under the FVRA to depart from the order of succession set by Nielsen in April 2019. See Ex. 18. And
the LaClinica court has granted leave to reconsider plaintiffs’ FVRA claims. Id.

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   E. Defendants unsuccessfully attempt to cure McAleenan’s improper issuance of the
      Rule.

       On September 10, 2020, less than a month after the GAO report was issued—and nearly

ten months after Wolf was improperly named Acting Secretary— President Trump submitted

Wolf’s nomination as Secretary of Homeland Security to the Senate. On the same day, Gaynor,

FEMA Administrator, currently the most senior successor under Executive Order 13753, signed

an order that purported to change the order of succession for Acting Secretary so that Wolf could

assume the Acting Secretary role. Gaynor stated that although he disagreed with the conclusions

of GAO and multiple district courts that Wolf was serving improperly, he was issuing the order

in an “abundance of caution,” in exercise of “any authority vested in me as Acting Secretary of

Homeland Security.” Ex. 12 (Order Designating the Order of Succession for the Secretary of

Homeland Security signed by Peter T. Gaynor (Sept. 10, 2020)) (“Gaynor Order”); Pls.’ 56.1

Stmt. ¶ 33.

       On September 17, 2020, Wolf released a “ratification memorandum” that attempted to

ratify each of his acts since the day he took office. Pls.’ 56.1 Stmt. ¶ 34; Ex. 11, Ratification of

Actions Taken by the Acting Secretary of Homeland Security, 85 Fed. Reg. 59,651, 59,654 (Sept.

23, 2020) (the “September 17 Memorandum”) at 3-4. The memorandum asserted that “under the

authority of the FVRA, 5 U.S.C. § 3345(a)(2), when the President submitted my nomination,

[G]aynor . . . would have become eligible to exercise the authority of the Secretary temporarily

in an acting capacity.” Ex. 11 at 3. On October 7, 2020, Wolf issued another ratification

memorandum that purported to ratify any and all of McAleenan’s acts during his tenure as

Acting Secretary, including issuance of the Rule. Pls.’ 56.1 Stmt. ¶ 37; Ex. 13 (Ratification of

Department Actions, 85 Fed. Reg. 65,653 (Oct. 16, 2020) (the “October 7 Memorandum”) at 3-4.




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The October 7 Memorandum contained the same justification for Wolf’s authority as his

September 17 Memorandum. Ex. 13 (October 7 Memorandum) at 2-3.

                                          ARGUMENT

        McAleenan unlawfully assumed the position of Acting Secretary of Homeland Security

in violation of the FVRA and HSA. Under the plain terms of the FVRA, all of McAleenan’s

exercises of the Secretary’s authority—including McAleenan’s issuance of the Rule—are

therefore invalid and may not be subsequently ratified. Plaintiffs accordingly seek partial

summary judgment on the Governmental Plaintiffs’ Second and Seventh Claims for Relief, and

the Organizational Plaintiffs’ Counts Five and Six. See State of New York, Am. Compl., ECF.

No. 223, ¶¶ 180-215; Make the Road New York, Am. Compl. ECF No. 251, ¶¶ 338–53. Plaintiffs

also seek a declaration that McAleenan’s issuance of the Rule, and Wolf’s subsequent

ratification, were void ab initio.

    A. Legal Standards

        Plaintiffs are entitled to summary judgment on their claims that the Rule violates the

FVRA, the HSA, and the APA because “there is no genuine dispute as to any material fact and

[Plaintiffs] are entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986).

        The Declaratory Judgment Act provides Plaintiffs with a cause of action to obtain judicial

review of McAleenan’s ultra vires issuance of the Rule in violation of the FVRA and the HSA.

28 U.S.C. § 2201. The Supreme Court has recognized that there is a “strong presumption that

Congress intends judicial review of administrative action.” Bowen v. Mich. Acad. of Family

Physicians, 476 U.S. 667, 670 (1986). Thus, courts have long exercised federal question

jurisdiction, under the Declaratory Judgment Act, to review agency action that is ultra vires. See,



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e.g., R.I. Dep’t of Envtl. Mgmt. v. United States, 304 F.3d 31, 41-42 (1st Cir. 2002); 28 U.S.C. §

1331 (federal question jurisdiction).

           The APA also mandates that the Court “shall” “hold unlawful and set aside agency

action” that is contrary to law or in excess of the agency’s statutory authority. 5 U.S.C. §

706(2)(A), (C). “In the usual case, when an agency violates its obligations under the APA, [the

court] will vacate a judgment and remand to the agency to conduct further proceedings.” Guertin

v. United States, 743 F.3d 382, 388 (2d Cir. 2014).

           Accordingly, Plaintiffs respectfully request that the Court issue a declaration that

McAleenan’s issuance of the Rule was void and cannot be ratified under the FVRA and vacate

the Rule because it was promulgated in excess of statutory authority under the APA.

       B. McAleenan’s exercise of the Secretary’s authority is void under the FVRA and the
          APA.

           McAleenan’s promulgation of the Rule is void because his appointment as Acting

Secretary was unlawful under the FVRA and HSA. Upon Nielsen’s resignation, the governing

succession order in Executive Order 13753 provided that the Director of CISA, Krebs, was the

next in line to serve as Acting Secretary. McAleenan thus did not have the authority to exercise

the Secretary’s statutory duty of issuing regulations.

                      1. Nielsen did not confer authority on McAleenan to serve in the event of
                         her resignation.

            Starting in May 2018, Nielsen revised Delegation 00106—which set forth, among other

things, two separate succession orders for the Secretary position—four different times, treating

the Delegation itself as authoritative. 8 After Nielsen’s April 2019 amendment to Delegation

00106, the provision governing the succession order when the Secretary resigned (Section II.A)



8
    See supra n. 3.

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remained the same as it had in all the previous versions of Delegation 00106: the Delegation

expressly stated that “[i]n case of the Secretary’s death, resignation, or inability to perform

functions of the Office, the orderly succession of officials is governed by Executive Order

13753, amended on December 9, 2016.” Ex. 1 (April Delegation) at 1 (emphasis added). Nielson

amended only Annex A to Delegation 00106, which applied only during the Secretary’s

unavailability due to disaster and emergency. See id. at 1, 4, 5.

       Because Nielsen resigned, the order of succession set forth in Executive Order 13753

controlled. See La Clinica, 2020 WL 4569462, at *13 (“[W]hen Secretary Nielsen resigned,”

Executive Order 13753 governed, “not the amended Annex A, which only applied when the

Secretary was unavailable due to disaster or catastrophic emergency.”). And that order of

succession clearly provided that if the Deputy Secretary, Under Secretary for Management, and

FEMA Director positions were vacant, as they were at the time, the next in line to succeed would

be the Director of CISA. See Ex. 4 (Executive Order 13753). Thus Krebs, the Director of

CISA—and not McAleenan—was the lawful successor to Nielsen, as GAO and several courts

correctly found. Ex. 3 (GAO Report) at 8 n.11.

               2. McAleenan did not have authority to promulgate the Public Charge Rule.

       Because McAleenan was not lawfully serving as Acting Secretary, he did not have the

authority to promulgate the Rule. Under the FVRA, when an official without lawful authority

performs a “function or duty of a vacant office,” it “shall have no force or effect.” See 5 U.S.C.

§ 3348(d)(1); SW Gen., Inc. v. NLRB, 796 F.3d 67, 71 (D.C. Cir. 2015), aff’d, 137 S. Ct. 929

(2017) (“[T]he FVRA renders actions taken by persons serving in violation of the Act void ab

initio.”). The FVRA defines “function or duty” as one that “is established by statute and is

required by statute to be performed by the applicable officer (and only that officer)” or “is



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established by regulation and is required by such regulation to be performed by the applicable

officer (and only that officer).” 5 U.S.C. § 3348(a)(2)(A), (B) (emphasis added).

       McAleenan’s attempt to dramatically alter national immigration policy through

regulation is an attempt to exercise a “function or duty” of the Secretary. The Immigration and

Nationality Act prescribes the powers and duties of the Secretary of Homeland Security and

provides that the Secretary shall “establis[h] regulation as he or she deems necessary for carrying

out his or her authority under the provisions of this chapter.” 8 U.S.C. § 1103(a)(3). When he

issued the Rule, McAleenan invoked this statutory authority under the INA, which “charge[s] the

Secretary with the administration and enforcement of the immigration and naturalization laws of

the United States.” 84 Fed. Reg. at 41,295 (citing 8 U.S.C. § 1103(a)(3)); see La Clinica, 2020

WL 4569462, at *15 (“Pursuant to the Secretary’s authority [under the INA], DHS issued both

the NPRM and the [Public Charge] Rule.”). McAleenan’s unlawful exercise of the Secretary’s

statutory duty thus rendered the Rule’s promulgation in August 2019 void at the outset. See Casa

de Maryland, Inc., 2020 WL 5500165, at *23 (plaintiffs are likely to succeed on arguments that

challenged rulemaking was void because the rule was promulgated by an Acting Secretary

serving unlawfully under the HSA and FVRA); Immigrant Legal Res. Ctr., 2020 WL 5798269,

at *9 (same).

       While Defendants may rely upon on the decision in Northwest to argue that McAleenan

was not performing a “function or duty” of the Secretary when he promulgated the challenged

rulemaking, this argument cannot be sustained. The district court in that case correctly found that

the Enforcement Provision generally voids the unlawful acts of an improperly designated

official. See infra at 25-26. But the court erred in concluding that the then-Acting Secretary—

purportedly Wolf—was not performing a “function or duty” of the Secretary when he



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promulgated the challenged rulemaking, and that the FVRA therefore did not apply. 2020 WL

5995206, at *16-17. The Northwest court found that the Secretary of Homeland Security

lawfully delegated rulemaking authority by regulation to the Deputy Secretary in 2003, 9 and it

determined on that basis alone that Wolf’s actions were not a “function or duty” exclusive to the

office of the Secretary within the meaning of the Enforcement Provision. Id. at *16. In other

words, having concluded that rulemaking was not a function or duty required by regulation to be

performed by the Secretary under Section 3348(a)(2)(B), the court ended its inquiry; the court

did not separately assess whether it was a duty established by statute under Section

3348(a)(2)(A). 10

         But this analysis disregards the text of the FVRA and misunderstands the nature of the

Secretary’s rulemaking authority, which is established by statute, not by regulation. Under

Section 3348, a regulation cannot change an office’s statutory duties. Rather, an official’s

functions or duties are those established by statute and required by statute to be performed by

that official only (Section 3348(a)(2)(A)), or those established by regulation and required by that

regulation to be performed by the applicable officer only (Section 3348(a)(2)(B)). Because the

INA assigns rulemaking authority to the Secretary, and the Secretary alone, see 8 U.S.C.

1103(a)(3) (the Secretary “shall establish . . . regulations” “as he deems necessary for carrying

out his authority”), see supra at 16, this statutorily-established authority independently satisfies

the definition of function or duty under the FVRA. Any analysis of whether rulemaking meets


9
  On June 23, 2003, the Secretary of Homeland Security issued a broad delegation of authority to the Deputy
Secretary. The delegation permitted the Deputy to “fulfill responsibilities set forth in the Homeland Security Act of
2002 and other general duties on behalf of the Secretary.” The list of delegated duties included the duty to “[act] for
the Secretary to sign, approve, or disapprove any proposed final rule, regulation or related document.” Ex. 15.
10
   Indeed, the Northwest court suggested that 3348(a)(2)(A) would only be relevant if it invalidated the 2003
delegation. 2020 WL 5995206, at *16 (plaintiffs’ citation to the HSA’s general vesting-and-delegation statute does
not “preclud[e] delegation of authority”). The court did not consider that, even if the 2003 delegation was lawfully
issued, rulemaking could still be considered a duty established by statute.

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the criteria of Section 3348(a)(2)(B) is thus irrelevant because it is not a duty established by

regulation.

        The Northwest court’s conclusion that all duties delegated by regulation automatically

fall outside the Enforcement Provision also subverts the FVRA’s statutory purpose. Under this

construction, a broad delegation of authority could remove from Congressional oversight the

discharge of core duties set by statute, that is, the duties that Congress affirmatively assigned to a

specific officer. An agency could exercise its expansive vesting-and-delegation authority under

the HSA to delegate virtually any statutorily-defined duty. See 6 U.S.C. § 112(b)(1). If mere

delegation to a sub-office were sufficient to place the performance of that duty beyond the

FVRA’s reach, an agency could effectively immunize any actions of an acting official—no

matter how central to the vacant office’s responsibilities—from challenge. Here, a sweeping

delegation of authority issued almost two decades ago would authorize an Acting Secretary

serving in violation of the FVRA’s terms to promulgate regulations that upend the agency’s past

practices. This result would wholly undermine Congress’s objective, when enacting the FVRA,

to limit the “frequent use of organic vesting and delegation statutes to assign the duties of

[presidentially appointed, Senate-confirmed] offices to officers and employees, with little or no

check from Congress.” L.M.-M., 442 F. Supp. 3d at 29. 11 It is implausible that Congress intended

for the statute’s Enforcement Provision to be so easily circumvented. Id. at 34 (“It was the

pervasive use of [] vesting-and-delegation statutes, along with the lack of an effective



11
   The L.M.-M. court expressly rejected DHS’s argument that duties included only “non-delegable duties—that is,
only those duties . . . that may not be reassigned. As that court noted, “because similar vesting and delegation
statutes can be found throughout the Executive Branch, the logic of this position would cover all (or almost all)
departments under the FVRA,” and would effectively remove any means for enforcing the FVRA.” Id. at 31; see id.
(“[B]ecause similar vesting and delegation statutes can be found throughout the Executive Branch, the logic of this
position would cover all (or almost all) departments under the FVRA,” and would effectively remove any means for
enforcing the FVRA) (internal quotation omitted).

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enforcement process” for enforcing the plain terms of the prior Vacancies Act, “that convinced

Congress of the need to enact the FVRA.”). 12

        By contrast, reading Section 3348(a)(2) as limiting the agency’s ability to narrow the

statutory duties of an office better reflects the FVRA’s text and purposes: while an agency may

have discretion to decide which duties established by regulation are subject to the statute, it may

not shield from judicial review the performance of duties that Congress set for a particular office.

Put another way, the delegation of a duty established by statute—and vested in the Secretary

alone—does not remove it from the Secretary’s functions and duties. Cf.L.M.-M., 442 F. Supp.

3d at 32 (“[T]he mere fact that a department head is also vested with all functions specifically

vested in other department officers and employees cannot, standing alone, defeat the

enforcement mechanisms found in the FVRA's vacant-office provision”). Regardless of whether

another officer had the theoretical authority to perform these duties by delegation, the FVRA

ensures that only officers serving in compliance with the statute’s appointment scheme can

discharge a vacant office’s statutorily assigned duties. Thus, only a lawfully-serving Acting

Secretary may perform the Secretary’s exclusive statutory duty of issuing regulations that

dramatically alter national immigration policy.

        Regardless of whether McAleenan was performing a duty of the Secretary, however,

agency actions that are taken in violation of the FVRA’s limits must also be set aside as

“unlawful” under the APA. 5 U.S.C. § 706(2). L.M.-M, 442 F. Supp. 3d at 34; Immigrant Legal

Res. Ctr., 2020 WL 5798269, at *9; Casa de Maryland, 2020 WL 5500165, at *23 (plaintiffs are



12
  The Northwest court acknowledged that its analysis and interpretation of the FVRA departed from that of two
other district courts, which both recently “accepted the argument” that “Wolf’s appointment was invalid and that
actions he has taken as Acting Secretary are void” because he was serving in violation of the HSA and the FVRA.
Northwest, 2020 WL 5995206, at *13 (citing Casa de Maryland, 2020 WL 5500165, at *23; Immigrant Legal Res.
Ctr., 2020 WL 5798269, at *9).

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likely to succeed on arguments that rulemaking was null and void under the APA because the

Acting Secretary “promulgated the challenged rules . . . ‘in excess of . . . authority’”). An agency

action that violates the APA “‘cannot be afforded the force and effect of law,’ and is therefore

void.” Air India v. Brien, No. 00-cv-1707, 2002 WL 34923740, at *14 (E.D.N.Y. Feb. 14, 2002)

(quoting Chrysler Corp. v. Brown, 441 U.S. 281, 313 (1979)). DHS has in fact admitted in other

litigation that, if the Acting Secretary was serving unlawfully, his action could be set aside under

the APA. See Ex. 17 (Defs.’ Mem. in Supp. of Mot. for Summary Judgment, State of New York

et al v. Donald Trump et al., No. 1:17-cv-05228 (E.D.N.Y. Sept. 11, 2020), ECF No. 287) at 25.

               3. There is no merit to DHS’s arguments that McAleenan properly became
                  Acting Secretary.

       DHS has argued in other cases that Nielsen’s April Delegation set the order of succession

in the event of the Secretary’s resignation, death, or inability to perform the functions of the

office. Specifically, DHS has argued that: a) the language in the April Delegation conflicts with

the April Memorandum, which is the controlling “order”; b) the April Memorandum necessarily

amends the succession order in all circumstances because it specifically invokes Nielsen’s

authority to change the succession order under the HSA; and c) the April Delegation is a non-

binding administrative document. But these post-hoc rationalizations cannot overcome the plain

text of the April Delegation (or the April Memorandum), which expressly limited Nielsen’s

changes to Annex A, which applies when the Secretary is “unavailable to act during a disaster or

catastrophic emergency.” See Casa de Maryland, 2020 WL 5500165, at *22 (adopting plain

reading of April Delegation because “agency action ‘must be viewed critically to ensure that the

rescission is not upheld on the basis of impermissible post hoc rationalization’”).




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                       a. The April Memorandum supports Plaintiffs’ interpretation of the
                          succession order.

       Defendants cannot rely on the April Memorandum to demonstrate that the revisions in

April Delegation set the succession order in all circumstances. According to DHS, Nielsen stated

in the April Memorandum that “she was designating a new ‘order of succession,’ employing

unqualified language.” See Ex. 17 (Defs.’ Mem. in Supp. of Mot. for Summary Judgment, State

of New York et al v. Donald Trump et al., No. 1:17-cv-05228 (E.D.N.Y. Sept. 11, 2020), ECF

No. 287) at 8. Yet this memorandum states only that “Annex A . . . is hereby amended by

striking the text of such Annex in its entirety and inserting” the new succession order “in lieu

thereof.” Ex. 16 (April Memorandum) at 2. The amendment does not purport to alter the

succession order set out in Section II.A of Delegation 00106, which governed in the case of

Nielsen’s resignation. See supra at 14-15; La Clinica, 2020 WL 4569462, at *13. Moreover, as

GAO correctly found, “[n]otwithstanding the General Counsel’s statement in the Memorandum

asserting the Secretary’s intentions in amending the April Delegation, the plain language of the

delegation controls and it speaks for itself.” Ex. 3 (GAO Report) at 9. Nielsen “only amended

Annex A” and “did not change the ground for which Annex A would apply,” namely the

Secretary’s unavailability to act during a disaster or catastrophic emergency. Id.; cf. United

States v. Mingo, 340 F.3d 112, 114 (2d Cir. 2003) (where text is unambiguous, “the plain

language controls”).

       McAleenan’s attempted November 2019 Delegation further demonstrates the limited

scope of Nielsen’s April Delegation. The November Delegation sought to revise Nielsen’s April

Delegation to state that “[i]n case of the Secretary’s, death, resignation, or inability to perform

the functions of the Office, the order of succession is governed by Annex A,” rather than

Executive Order 13753. See Pls.’ 56.1 Stmt. ¶ 18. This amendment would have been superfluous


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if Nielsen had already made Annex A govern the succession order in the event of the Secretary’s

resignation. As another court has observed, “[t]he fact that McAleenan amended Delegation No.

00106 to modify Section II.A to cross-reference Annex A but Nielsen did not, reinforces the

conclusion that at the time of Nielsen’s resignation, Executive Order 13753 governed the order

of succession.” La Clinica, 2020 WL 4569462, at *14; Immigrant Legal Res. Ctr., 2020 WL

5798269, at *8 (“Defendants also do not provide a persuasive argument as to why it was

necessary for Mr. McAleenan to amend Section II.A of Delegation 00106, if Secretary Nielsen

had already accomplished that change.”).

                       b. Nielsen’s invocation of her authority under 113(g) of the HSA does not
                          change the result.

       Nielsen’s invocation of Section 113(g) of the HSA, which permits the Secretary to amend

the order of succession for Acting Secretary, does not change the interpretation of the April

Delegation or Memorandum. DHS has observed that Nielsen’s April Memorandum repeatedly

referenced Nielsen’s authority to change the succession order under Section 113(g)(2), instead of

her authority under Section 112(b)(1)—DHS’s general delegation-and-vesting statute—which

permits the Secretary to “‘delegate’ her authority to other officials in the agency, even when the

Secretary continues to occupy her office.” See Ex. 14 (Defs.’ Opp’n to Mot. to Reconsider, La

Clinica De La Raza et al v. Trump et al, No. 4:19-cv-04780 (Sept. 24, 2020), ECF. No. 184) at

3-6. Accordingly, DHS argues that the April Memorandum necessarily amended the order of

succession that governed in the event of a permanent vacancy, not the order of delegation of

authority during the Secretary’s temporary unavailability due to emergency or disaster.

       As an initial matter, the April Memorandum states that its changes to Annex A amended

the “Orders of Succession and Delegations.” Ex. 16 (April Memorandum) at 2 (emphasis added).

Moreover, Section 113(g)(2) confers the Secretary with the authority to set the order of


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succession not only in the event of a permanent vacancy in the office, but also in the event that

the Secretary is “absent” or “disabled” (e.g., when the Secretary unavailable to act due to a

disaster or catastrophic emergency). 6 U.S.C. § 113(g)(2). Thus, Section 113(g)(2) empowers the

Secretary to change the succession order that governs when the Secretary resigns and/or the

succession order that governs when the Secretary is unavailable to Act. DHS entirely ignores this

statutory language. Cf. United States v. Harris, 838 F.3d 98, 106 (2d Cir. 2016) (recognizing that

it is a “basic interpretive cannon” that language should be read “so that no part will be

inoperative or superfluous, void or insignificant”) (internal quotation omitted).

        Additionally, Section 112(b)(1) is simply a general delegation statute providing that the

Secretary, “except as otherwise provided by this chapter, may delegate any of the Secretary’s

functions to any officer, employee or organizational unit of the Department.” 6 U.S.C.

§ 112(b)(1) (emphasis added). Nothing in the text of Section 112(b)(1) purports to displace

Section 113(g)’s more specific provisions regarding who may carry out the Secretary’s duties

when the Secretary is unavailable to do so. Nor may such a displacement be judicially inferred.

A “general [statutory] provision should not be applied when doing so would undermine

limitations created by a more specific provision.” Cook v. New York State Div. of Parole, 321

F.3d 274, 279 n.4 (2d Cir. 2003) (quotation marks omitted); see also RadLax Gateway Hotel,

LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012) (discussing the “general/specific canon” of

statutory interpretation).

        That Nielsen purported in the April Memorandum to exercise her authority under Section

113(g), therefore, sheds no light on whether she intended to change the order of succession for

permanent or temporary vacancies. See Casa de Maryland, 2020 WL 5500165, at *22 (The




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“memorandum applies with equal force to the changes that Nielsen did make to Annex A in that

she made them pursuant to her authority under section 113(g).’”) (emphasis in original).

                            c. The April Delegation is binding.

           DHS has additionally tried to claim that the April Delegation was a mere non-binding

administrative document. 13 See Ex. 3 (GAO Report) at 8; Ex. 7 (Mem. of Law in Support of

Defs.’ Opp. to Pls.’ Mot. for a Prelim. Injunction at 30-31, Casa de Maryland, Inc. v. Wolf, No.

8:20-cv-2118 (D. Md. Aug. 3, 2020), ECF No. 41) at 26-27. But throughout her tenure as

Secretary, Nielsen adopted Delegation 00106 in toto and consistently treated it as authoritative,

amending the Delegation four different times. 14 Throughout each of her amendments, Nielsen

consistently retained the provision of Delegation 00106 stating that the succession order set forth

in Executive Order 13573 governed when the Secretary resigns, and so it was that succession

order that governed when Nielsen resigned. 15 See Casa de Maryland, 2020 WL 5500165, at *20

(finding that throughout her amendments, Nielsen “left in place the framework set by Secretary

Johnson which had provided succession orders applicable to two different scenarios”).



13
   In other litigation, DHS has admitted that Delegation 00106 “is the only written repository that memorialized the
Secretary’s changes to the succession orders.” Casa de Maryland, 2020 WL 5500165, at *22 (rejecting DHS’s
argument that the April Delegation was a non-binding administrative document). Indeed, the April Memorandum
treated Delegation 00106 as authoritative by purporting to amend it pursuant to her authority under 6 U.S.C. §
113(g)(2). Ex. 16 (April Memorandum) at 2. In any event, even if the April Memorandum were the only binding
document, it is wholly consonant with the April Delegation. See supra at 7.
14
     See supra n. 3.
15
   DHS has further attempted to argue that all versions of Delegation 00106 prior to April 2019 merely
acknowledged the President’s authority under the FVRA to establish the order of succession in the event of the
Secretary’s death, resignation, or inability to perform the duties of the office, without setting forth a succession order
that would govern in such circumstances. Ex. 14 (Defs.’ Opp’n to Mot. to Reconsider, La Clinica De La Raza et al
v. Trump et al, No. 4:19-cv-04780 (Sept. 24, 2020), ECF. No. 184) at 5. But this interpretation ignores the plain text
of Section II.A of the Delegation, which states that “[i]n case of the Secretary’s death, resignation, or inability to
perform the functions of the Office, the orderly succession of officials is governed by Executive Order 13753.” Ex. 1
(April Delegation) at 1. And accepting DHS’s reading of the provision would render the Delegation’s explicit
reference to Executive Order 13753 meaningless. It would require the Court to construe the words, “the orderly
succession of officials is governed by Executive Order 13753,” to mean that the orderly succession of officials is not
governed by the list set forth in Executive Order 13753 because, notwithstanding that list, the President retains the
general authority under the FVRA to change the succession order.

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   C. McAleenan’s unlawful issuance of the Rule cannot be ratified by Wolf.

       Wolf may not ratify McAleenan’s ultra vires promulgation of the Rule. On September 10,

2020, President Trump submitted Wolf’s nomination as Secretary of Homeland Security to the

Senate. In his September 17 and October 7 Memoranda, Wolf asserted that “under the authority

of the FVRA, 5 U.S.C. § 3345(a)(2), when the President submitted my nomination, [G]aynor . . .

would have become eligible to exercise the functions and duties of the Secretary temporarily in

an acting capacity.” Exs. 11 (September 17 Memorandum) at 3; 13 (October 7 Memorandum) at

3. Wolf’s October 7 Memorandum attempted to ratify each of McAleenan’s acts as Acting

Secretary, including issuance of the Rule. Ex. 13 (October 7 Memorandum) at 3-4.

       DHS’s attempt to cure the defect in the Rule’s issuance fails for a host of reasons. First,

under the FVRA, duties performed by an official serving in violation of the statute may not be

ratified. Second, the HSA does not permit an Acting Secretary (such as McAleenan or Gaynor,

even if either were lawfully serving as Acting Secretary) to amend the order of succession so as

to install Wolf as the new Acting Secretary. And finally, even if an Acting Secretary had the

authority to change the succession order, Gaynor never properly assumed this position.

               1. McAleenan’s promulgation of the Rule may not be ratified.

       The FVRA’s Enforcement Provision provides that duties of a vacant office performed by

an official serving in violation of the statute “shall have no force or effect” and “may not be

ratified.” 5 U.S.C. § 3348(d)(1), (2). As explained supra at 4-5, the Enforcement Provision “does

not by its terms apply only to acting officials designated to serve pursuant to the FVRA, but,

rather, applies to ‘[any] vacant office to which’ the FVRA applies,” including an Acting

Secretary’s service pursuant to the HSA. Northwest, 2020 WL 5995206, at *15; see also La

Clinica, 2020 WL 4569462, at *15. In other words, “if McAleenan and Wolf (in the first



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instance) were not designated in conformity with the HSA, then . . . their unauthorized acting

service was subject to the strictures of the FVRA[’s] [Enforcement Provision].” Northwest, 2020

WL 5995206, at *15. Official actions that are void under the FVRA thus cannot be subsequently

saved through ratification. McAleenan’s promulgation of the Rule—a regulation that overhauled

admissibility determinations under the INA—is thus subject to the FVRA Enforcement Provision

and may not be ratified.

               2. An Acting Secretary may not amend the order of succession.

       Even if the FVRA’s Enforcement Provision does not apply, the Rule must still be set

aside under the APA because McAleenan was serving in violation of the HSA and his actions

were not ratified. As discussed supra at 19-20, an action taken by an official serving in violation

of the FVRA is in excess of statutory authority under the APA. While, under the APA, “a

subsequent valid appointment, coupled with ratification, cures” the initial defects of a rule,

Immigrant Legal Res. Ctr., 2020 WL 5798269, at *9 (emphasis in original), Wolf was not validly

appointed Acting Secretary—either in November 2019 by McAleenan or in September 2020 by

Gaynor—and thus could not ratify McAleenan’s prior actions.

       Neither McAleenan nor Gaynor had the authority to issue the modified order of

succession that purported to install Wolf as Acting Secretary. The HSA permits only a Senate-

confirmed Secretary to designate the order of succession. 6 U.S.C. § 113(g)(2). Because Section

113 explicitly distinguishes between the use of “Secretary” and “Acting Secretary,” cf. 6 U.S.C.

§ 113(g)(1) and (g)(2), the plain reading of the provision limits the authority to change the

succession order solely to the Secretary. See Northwest, 2020 WL 5995206, at *17-18

(“agreeing” with plaintiffs’ reasoning that “[t]he Court should ‘respect Congress’[s] decision to

use different terms to describe different categories of people’ [under the HSA]”).



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        Section 113(g)(2) of the HSA must be interpreted narrowly so as to cohere with the

FVRA’s framework, which provides an exception to the statute’s default appointment scheme

only where an agency-specific statute “expressly . . . authorizes the President, a court, or the

head of an Executive department[ ] to designate” acting officials. 5 U.S.C. § 3347(a)(1)(A). If

the HSA permitted an Acting Secretary to amend the order of succession, that would mean that

“the Secretary could designate the lowest-ranking ‘officer’ in any office or agency within the

Department to serve as Acting Secretary, and once in office, that Acting Secretary could amend

the Department's order of succession to name other low-ranking ‘officers’ to succeed him.”

Northwest, 2020 WL 5995206, at *18. “As a result, an exception to the FVRA’s requirement that

the ‘President (and only the President)’ designate acting officers would permit any ‘officer’ in

the Department, who is designated by the Secretary to serve in her absence, to fill the role

ordinarily reserved to the ‘President (and only the President).’” Id. Such an interpretation would

conflict with the FVRA’s purpose to expand Congressional oversight over the assignment of

duties to officers within the agency who were not subject to Senate confirmation. See supra at

18-19; L.M.-M., 442 F. Supp. 3d at 29.

        In light of the principle that “[e]xceptions ought not operate to the farthest reach of their

linguistic possibilities if that result would contravene the statutory design,” Maracich v. Spears,

570 U.S. 48, 60 (2013), the HSA cannot be read to confer an Acting Secretary with such

expansive authority. 16 The agency’s attempt to employ “a matryoshka doll of delegated



16
  In fact, the Northwest court cast doubt on whether even a Senate-confirmed Secretary could override a presidential
order like Executive Order 13753. Northwest, 2020 WL 5995206, at *14 n.1 (“Nor does the DHS Secretary (much
less the Acting Secretary) have authority to amend or to supersede an executive order . . . Because Plaintiffs have
not challenged Wolf's designation on this ground, and because neither party has briefed the issue, the Court simply
notes the oddity of an order from an Acting Secretary purporting to supplant a presidential designation”). This Court
need not reach that question because, as GAO and courts have uniformly found, Nielsen’s revisions to Delegation
00106 did not purport to supersede the Executive Order. See supra at 9-11.

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authorities” to avoid proper appointment and confirmation must be set aside as unlawful. Bullock

v. United States Bureau of Land Mgmt., No. 4:20-cv-00062-BMM, 2020 WL 5746836, at *8-9

(D. Mont. Sept. 25, 2020) (the FVRA does not “authoriz[e] someone to exercise temporary

authority via memorandum signed by two officials purportedly exercising the delegated

authority”). 17

                  3. Gaynor never lawfully assumed the position of Acting Secretary.

         Even assuming that an Acting Secretary possesses authority to change the order of

succession for the Secretary position, Gaynor never properly assumed the office of Acting

Secretary. Wolf’s September 17 and October 7 Memoranda claim that, under the FVRA, “when

the President submitted [his] nomination. . . [G]aynor . . . would have become eligible to exercise

the functions and duties of the Secretary temporarily in an acting capacity.” Exs. 11 (September

17 Memorandum) at 3; 13 (October 7 Memorandum) at 3; see Pls.’ 56.1 Stmt. ¶¶ 35-38. The

memoranda claimed that Gaynor was authorized to serve Acting Secretary pursuant to Section

3345(a)(2) of the FVRA. Exs. 11 (September 17 Memoranda) at 3; 13 (October 7 Memoranda) at

3. Both of these assertions, however, rest on unsound premises.

         Gaynor could not have properly assumed the Acting Secretary position in September

2020 because no vacancy triggering succession arose upon Wolf’s nomination. The FVRA

permits an acting officer to perform the duties of a vacant office only when the prior officer


17
   Plaintiffs’ interpretation of Section 113(g) also permits the Court to avoid the constitutional question of whether
inferior officers have the authority to appoint other inferior officers. Under the Excepting Clause of the Constitution,
“Congress may by Law vest the Appointment of such inferior Officers, as they think proper, in the President alone,
in the Courts of Law, or in the Heads of Departments.” U.S. Const. art. II, § 2, cl. 2. Reading Section 113(g) to
permit an Acting Secretary to appoint another Acting Secretary raises the “difficult constitutional question” of
“whether the Heads of Departments for purposes of the Excepting Clause can include inferior officers of the United
States.” Northwest, 2020 WL 5995206, at *20. “If an inferior officer lacks the constitutional authority to appoint
another inferior officer, then it seems improbable—or at least discordant—that an inferior officer may alter the order
of succession in a manner that, in effect, chooses which of the many officers serving at the Department will become
the Acting Secretary.” Id. (declining to adopt DHS’s reading of Section 113(g) to avoid resolving the constitutional
question).

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“dies, resigns, or is otherwise unable to perform the functions and duties of the office.” 5 U.S.C.

§ 3345(a). Submission of a prior officer’s nomination to the Senate, by contrast, does not create a

vacancy under this provision that would allow a new officer to assume the acting position.

Tellingly, despite DHS’s contention that the Secretary’s office became vacant on September 10,

2020, the agency failed to submit a “notification of a vacancy” to Congress or Comptroller

General’s office, as both the FVRA and the HSA require. See 5 U.S.C. § 3349(a); 6 U.S.C. §

113(g)(3) (“The Secretary shall notify the Committee on Homeland Security and Governmental

Affairs of the Senate and the Committee on Homeland Security of the House of Representatives

of any vacancies that require notification under [the FVRA].”). And neither the Gaynor Order

nor the Wolf Memoranda claim that Gaynor ever assumed the Acting Secretary role. See Exs. 11

(September 17 Memorandum) at 3; 12 (Gaynor Order); 13 (October 7 Memorandum) at 3.

        Additionally, the FVRA provision that DHS invokes as the basis for Gaynor’s

appointment, Section 3345(a)(2), does not automatically bestow Gaynor with the functions and

duties of Secretary upon the office’s vacancy. 18 That provision simply permits the President, in

theory, to designate a Senate-confirmed agency official “to perform the duties of the vacant

office temporarily in an acting capacity subject to the time limitations of section 3346.” 5 U.S.C.

§ 3345(a)(2). But the President has never purported to exercise this authority. Pls.’ 56.1 Stmt. ¶

38. Gaynor thus never held the position of Acting Secretary and would not have possessed the

authority to amend or re-issue the orders of succession contained in Delegation 00106.

        DHS’s attempt to ratify the Rule thus do not comply with either the text or the statutory

purpose of the FVRA or the HSA. They cannot cure McAleenan’s unlawful promulgation of


18
  The Northwest court also erred in concluding that Gaynor became Acting Secretary in January of 2020. 2020 WL
5995206, at *14. Even according to DHS, Gaynor did not become eligible to serve until the time of Wolf’s
nomination. See Exs. (September 17 Memorandum) at 3; 13 (October 7 Memorandum) at 3. In any event, DHS has
never claimed that Gaynor assumed the Acting Secretary role. See supra at 28-29.

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sweeping and controversial policy initiatives that continues to harm tens of millions of

immigrants and their families, the Governmental Plaintiffs’ jurisdictions, and the Organizational

Plaintiffs.

                                          CONCLUSION

        For the reasons set forth above, Plaintiffs respectfully request that the Court grant this

motion for partial summary judgment, and vacate the Rule in its entirety as void because it is

without force or effect and may not be ratified under the FVRA, and is in excess of statutory

authority under the APA.



 DATED: October 27, 2020


                                                    Respectfully submitted,

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